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1                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF FLORIDA
2                                PENSACOLA DIVISION
3                          Civil Action No. 3:21-cv-01066
4
             STATE OF FLORIDA,
5
                                Plaintiff,
6
             v.
7
             The UNITED STATES OF AMERICA, et
8            al.,
9                           Defendants.
             ________________________________/
10
11
                                      DEPOSITION OF
12
                                     JESSE BOTTCHER
13
                          Taken on Behalf of the Defendants
14
15                               Friday, July 8, 2022
                                10:00 a.m. - 11:28 a.m.
16
17                          LOCATION:     Via Web Conference
18
19
20
21
22
                  Stenographically Reported Via Web Conference By:
23                                   Mary Hlavac
                          Registered Professional Reporter
24                            Registered Merit Reporter
                             Certified Realtime Reporter
25                           Job No. CS5298292

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1         individuals would not be included within the

2         undocumented aliens set forth in response to

3         Interrogatory No. 1?

4               A.    Correct.

5               Q.    And again, AHCA doesn't keep any records to

6         differentiate into which categories individuals fall

7         in terms of what their immigration status is

8         specifically?     That's not information that's kept by

9         your agency?

10              A.    Correct.    The information that we keep is

11        their eligibility status and eligibility category

12        referred to as the ACWM, which I spoke about

13        previously.

14              Q.    Is that the reason why in interrogatory

15        response No. 3, it says, "AHCA is not aware if any of

16        the noncitizens who received emergency medical

17        services are applicants for admission released by the

18        federal government pending pursuant of asylum or

19        removal proceedings?"

20              A.    Yes, that is correct.

21              Q.    So as far as AHCA is aware, that number

22        could be zero?

23              A.    I think your question is presumptive.

24              Q.    Yeah, it is.     I'm -- it is necessarily

25        presumptive.     I'm asking you -- it seems to me that in

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1         response to Interrogatory No. 3, you're saying that --

2         let me finish the question.        You're saying that AHCA

3         doesn't know one way or the other whether any

4         noncitizens who received emergency medical services

5         are applicants for admission released by the federal

6         government pending asylum or removal proceedings.             And

7         assuming that's correct as far as AHCA is concerned,

8         that number could be anything from zero to some other

9         number; is that correct?

10                    MR. SCHREIBER:      Objection to the form.

11        BY MS. FUDIM:

12              Q.    You can answer.

13              A.    My answer to that question is we do not know

14        one way or another.       I will not speculate on numbers.

15              Q.    But would it be fair to say, if you don't

16        know one way or the other, that number could be --

17        could be anything?

18              A.    If we do not know the status, then we could

19        reasonably assume that we do not know so, therefore,

20        it could be.

21              Q.    Anything?

22              A.    Anything, correct.

23              Q.    Or zero?

24              A.    Well, zero is part of anything.

25              Q.    So that's a yes?

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1               A.    Yes, because we do not know.

2               Q.    Okay.    So in response to

3         interrogatory -- excuse me, document demand No. 1, it

4         says, "The cost of providing such emergency services

5         is paid by both federal and state dollars.            The cost

6         incurred by the state for providing emergency medical

7         services is provided in response to defendant's

8         request for production No. 1."         And then it says,

9         1RFP-1_011.     And that was a spreadsheet that was

10        produced by counsel; is that accurate?

11              A.    Are you saying that what we produced is a

12        spreadsheet, or are you asking if the spreadsheet is

13        accurate?

14              Q.    If what you produced is the spreadsheet?

15              A.    Yes, that is accurate.

16              Q.    Okay.    And this morning -- I just want to be

17        clear for the record.       This morning your counsel

18        provided us with a spreadsheet that contains some

19        totals at the bottom of it.

20              A.    Yes.

21              Q.    Am I correct that the spreadsheet that was

22        produced this morning on July 8th at approximately

23        9:15 this morning by your counsel is the same

24        spreadsheet that was previously produced in response

25        to request for production No. 1 with the sole

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